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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

DENNIS DONNELLY, on behalf of himself
and all others similarly situated,

                 Plaintiff,

       v.                                           Case No. 4:25-cv-00150-RGE-WPK

DES MOINES REGISTER AND TRIBUNE                      NOTICE OF APPEARANCE
CO., INC.; J. ANN SELZER; SELZER &                   OF GREG H. GREUBEL
COMPANY; and GANNETT CO., INC.,

                 Defendants.



       COME NOW, Greg H. Greubel hereby enters his Appearance as an attorney on behalf of

Defendants J. Ann Selzer and Selzer & Company in the above-captioned matter.

                                                 Respectfully Submitted,

                                                 /s/ Greg H. Greubel
                                                 Greg H. Greubel (AT0015474)
                                                 FOUNDATION FOR INDIVIDUAL
                                                     RIGHTS AND EXPRESSION (FIRE)
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                                                 Philadelphia, PA 19106
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                                                 Fax: (215) 717-3440
                                                 Email: greg.greubel@thefire.org

                                                 Attorney for Defendants J. Ann Selzer and
                                                 Selzer & Company
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                                    Certificate of Service

        The undersigned certifies that a true copy of the foregoing Notice of Appearance was

served upon all parties of record through the court’s CM/ECF electronic filing system on May 1,

2025.


Dated: May 1, 2025                                           /s/ Greg H. Greubel
                                                             Greg H. Greubel
